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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION


    THE HONORABLE ORDER OF
    KENTUCKY COLONELS, INC.,                                                                 Plaintiff,

    v.                                                           Civil Action No. 3:20-cv-132-RGJ

    KENTUCKY COLONELS
    INTERNATIONAL et al.,                                                                Defendants.

                                             * * * * *

                                               ORDER

         Plaintiff, the Honorable Order of the Kentucky Colonels (“HOKC”), alleges that

Defendants misappropriated HOKC’s protected marks to redirect donations and goodwill intended

for HOKC to Kentucky Colonels International—an unaffiliated entity. (DE 1). HOKC sought

injunctive relief (DE 7), and the Court granted a temporary restraining order enjoining Defendants

from infringing on HOKC’s intellectual property. (DE 14). The Court held a hearing on HOKC’s

motion for a preliminary injunction, and Defendants failed to appear. (DE 22). Defendant David

J. Wright then filed several motions, including a motion to continue the proceedings.1 (DE 23; DE

24; DE 26). After recusal of the judge then assigned to the case (DE 25), the Court extended the

temporary restraining order pending consideration of the newly filed materials and completion of

the preliminary-injunction decision. (DE 28). HOKC now moves for a second extension of the




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  Although Wright purportedly responded and filed later motions pro se on behalf of himself; Kentucky
Colonels International, Ecology Crossroads Cooperative Foundation, Inc.; and Globcal International
(collectively “the Corporate Defendants”), Wright is not licensed to practice law in Kentucky. (DE 27-1,
PageID # 752) As pointed out by HOKC, although Wright may represent himself pro se, he may not appear
on behalf of the Corporate Defendants. See Rowland v. California Men’s Colony, 506 U.S. 194, 201–03
(1993).
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temporary restraining order. (DE 31). For the reasons below, the Court will extend the temporary

restraining order to provide Defendants with time to file a meaningful response.

                                                I.

       HOKC is a “nonprofit, tax-exempt corporation” organized in Kentucky and founded in

1931 that represents recipients of the title of “Kentucky Colonel,” which the governor bestows.

(DE 1, at 2–3). The governor recognizes individuals as Kentucky Colonels for a wide variety of

reasons, ranging from public service to celebrity status. Thousands of designations are issued

yearly, and HOKC manages the nominations process. (DE 29, at 778–79). HOKC raises money

through direct donations and the sale of merchandise bearing the Kentucky Colonels mark. (DE

1, at 5). The funds fuel HOKC’s charitable grants across the Commonwealth, and over the last

twenty years HOKC has donated about $29 million to various nonprofit organizations in Kentucky.

(DE 7, at 149). HOKC considers itself a membership organization, although Wright contests this

point. (DE 24-1, at 738). HOKC obtained and registered several trademarks for the term

“Kentucky Colonel,” including the right to use the mark on various novelty goods, such as

clothing, nonperishable food items, key chains, and commemorative license plates. (DE 1-2).

HOKC registered these marks in 2004. (Id.). HOKC registered its mark for use of “Honorable

Order of Kentucky Colonels” in eleemosynary services and charitable services in 2016 and applied

to register the mark KENTUCKY COLONELS for social-club services and association services

on February 17, 2020. (Id.)

       According to HOKC, it learned of the allegedly infringing activity when “Colonel David

J. Wright” contacted HOKC on Facebook. (DE 1, at 6). Wright stated that he was “soliciting

participants for a ‘registry’” of Kentucky Colonels—for a fee. (Id., at 6). Wright asserts that

HOKC approached him and was “interested in our efforts and . . . willing to assist our development



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of a registry.” (DE 24-1, at 738). Wright is the administrator of a website, “Kentucky Colonels

International,” which solicits donations from “international members of the order of the Kentucky

Colonels.” (DE 7-3). Wright also maintains a Facebook page for KCI and a blog about KCI’s

activities and mission. (DE 7-5; DE 7-6). KCI is an assumed name of Ecology Crossroads

Cooperative Foundation, Inc., and associated with Globcal International. (DE 7, at 153). Wright

is an “executive” with each of these groups. (DE 1, at 8). Ecology Crossroads is a registered

Kentucky corporation committed to spreading awareness of ecology issues, and its corporate

charter does not mention the Kentucky Colonels or KCI. (DE 7, at 155). Wright offered to “find

a way” for HOKC to merge with KCI. (DE 1, at 7; DE 29, at 781 (Wright proposed that HOKC

take over KCI “silently but transparently.”)). The executive director of HOKC, Sherry Crose,

suggested that Wright submit his proposal in writing. (Id.). Wright did so, submitting a “merger

proposition” that would allow Wright to serve as a consultant for HOKC and included a six-figure

buyout proposal. (DE 6-1). Crose testified that she “felt like [the proposal] was a shakedown . . .

and it was clearly a threat to the Honorable Order.” (DE 29, at 784).

       HOKC refused the merger proposal. (DE 29, at 789 (“I typed back to him that the executive

committee has decided to decline the proposal.”)). Wright then made a blog post accusing HOKC

of “misleading their donors and supporters for many years,” violating state and federal law, and

engaging in “impropriety, deception, and fraudulent presumptive behavior. [sic]” (DE 1-4, at 69).

HOKC then filed this suit and tried to serve Globcal and Ecology Crossroad’s registered service-

of-process agent, Maya-a-Lis, without success. (See DE 18, at 512). Eventually Wright responded

to HOKC’s emails, stating that Lis is his ex-wife and that she is not affiliated with any of the

Corporate Defendants. (DE 19-1, at 550). Wright also stated that he would be unable to appear

in court as scheduled. (Id., at 552). Wright suggested in a subsequent email that he wanted to



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settle, an offer HOKC refused. (DE 19-3, at 579). Wright stated that he “really cannot believe

you rejected our offer” but that HOKC should “[c]onsider the case over and you will win by default

judgment.” (DE 19-5, at 588). Wright statted that he and the Corporate Defendants have “no funds,

no bank account or even donations to speak of.” (Id.).

       The Court held a hearing on HOKC’s motion for preliminary injunction on March 4, 2020.

(DE 22) Later the same day, Wright filed several pro se motions with the Court. Wright moved

to continue, and to dismiss. (DE 23; DE 24; DE 26). In his motion to continue Wright requested

that the Court “grant [Defendants] a continuance in this case in 90–120 days so that we can acquire

legal counsel to properly prepare to present our defense and file a counterclaim.” (DE 24, at 734).

In his response, Wright states that he is citizen of the United States living abroad in Venezuela

working with the “indigenous Piaroa tribe.” (DE 23, at 717). Wright claims to have complied

with the temporary restraining order by changing the name of his website from “Kentucky

Colonels International” to “Kentucky Colonels Foundation.” (Id., at 726). Wright also asserts that

HOKC’s pursuit of injunctive relief has “resulted in our . . . newly renamed organization to declare

itself as an offshore foundation under laws where [HOKC] ha[s] no jurisdictional rights so that we

can enjoy freedom as a civil society organization as which we were formed.” (Id.). He also makes

substantive arguments, alleging that HOKC does not have a property interest in the name Kentucky

Colonels and that KCI does not infringe on HOKC’s trademarks. (DE 23, at 724–26).

                                                II.

       The Court must now consider whether extension of the temporary restraining order

currently in place is appropriate considering the factual circumstances detailed above. First, the

Court notes that “an extension of the TRO pending a preliminary injunction hearing and decision

without consent of the enjoined party is technically a preliminary injunction: it is appealable, and



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the district court should provide a sufficient explanation of its decision to allow meaningful

appellate review.” H-D Michigan, LLC v. Hellenic Duty Free Shops S.A., 694 F.3d 827, 845 (7th

Cir. 2012) (citing Fed. R. Civ. P. 52(a)(2)); see also Sampson v. Murray, 415 U.S. 61, 86–88

(1974) (finding that extension of temporary restraining order past statutory limit effectively creates

a preliminary injunction). Because the Court anticipates receiving more briefing and holding a

supplemental hearing once the Corporate Defendants retain counsel, this opinion is limited to

extension of the temporary restraining order and does not constitute a final decision on HOKC’s

motion for preliminary injunction.

                                                 III.

       In the Sixth Circuit,

       [f]our factors guide the decision to grant a preliminary injunction: “(1) whether the
       movant has a strong likelihood of success on the merits; (2) whether the movant
       would suffer irreparable injury absent the injunction; (3) whether the injunction
       would cause substantial harm to others; and (4) whether the public interest would
       be served by the issuance of an injunction.”

S. Glazer’s Distribs. of Ohio, LLC v. Great Lakes Brewing Co., 860 F.3d 844, 849 (6th Cir. 2017)

(quoting Bays v. City of Fairborn, 668 F.3d 814, 818-19 (6th Cir. 2012)). “[T]hese are factors to

be balanced, not prerequisites to be met.” Id. (citing Certified Restoration Dry Cleaning Network,

L.L.C. v. Tenke Corp., 511 F.3d 535, 542 (6th Cir. 2007)). “For example, ‘a finding that the

movant has not established a strong probability of success on the merits will not preclude a court

from exercising its discretion to issue a preliminary injunction if the movant has, at minimum,

shown serious questions going to the merits and irreparable harm which decidedly outweighs any

potential harm to the defendant if the injunction is issued.” Six Clinics Holding Corp., II v.

Cafcomp Sys., Inc., 119 F.3d 393, 399–400 (6th Cir. 1997) (internal quotations and brackets

omitted). Here, even considering Wright’s response, the factors support injunctive relief.



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       A.      Likelihood of Success on the Merits

       HOKC seeks relief under both federal and state law, alleging federal trademark

infringement, unfair competition, dilution, and violation of the Anticybersquatting Consumer

Protection Act and state-law claims of defamation, common-law trademark infringement, unfair

competition, dilution, and unjust enrichment. (DE 1, at 9–16). The thrust of HOKC’s argument

is that “Kentucky Colonels International” illegally infringes both the established mark of

“Honorable Order of Kentucky Colonels” and the recently filed mark for “Kentucky Colonels” as

it relates to associations. The claims for unfair competition and unjust enrichment stem from KCI’s

solicitation of donations from individuals who, according to HOKC, intended to donate to HOKC

and not the unaffiliated organization, KCI. HOKC’s motion for injunctive relief only addresses

the trademark-infringement and cyberpiracy claims. (DE 7). The temporary restraining order

prohibits infringement, which also covers the website and domain name at the root of the

cyberpiracy claim. (DE 14). Because extension of the temporary restraining order would alleviate

HOKC’s cyberpiracy injuries as well as its trademark injuries, only the federal trademark-

infringement arguments is considered by the Court at this time. (See DE 21-3 (proposed order

adding language to address cyberpiracy claims)).

       The Sixth Circuit evaluates trademark infringement under eight factors:

               1. strength of the plaintiff’s mark;
               2. relatedness of the goods;
               3. similarity of the marks;
               4. evidence of actual confusion;
               5. marketing channels used;
               6. likely degree of purchaser care;
               7. defendant’s intent in selecting the mark; [and]
               8. likelihood of expansion of the product lines.

Frisch’s Rests., Inc. v. Elby’s Big Boy of Steubenville, Inc., 670 F.2d 642, 648 (6th Cir. 1982). Not

all the factors will be relevant in every case, and “[t]he ultimate question remains whether relevant

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consumers are likely to believe that the products or services offered by the parties are affiliated in

some way.” Kellogg Co. v. Toucan Golf, Inc., 337 F.3d 616, 623 (6th Cir. 2003) (quoting

Homeowners Grp., Inc. v. Home Mktg. Specialists, Inc., 931 F.2d 1100, 1107 (6th Cir. 1991)).

The factors enable the Court to decide the key question—whether “consumers,” i.e., members and

donors of HOKC, are likely to donate money to KCI that they intended to donate to HOKC. See

Daddy’s Junky Music Stores, Inc. v. Big Daddy’s Family Music Ctr., 109 F.3d 275, 280 (6th Cir.

1997).

                1.       Strength of Plaintiff’s Mark

         This first factor “focuses on the distinctiveness of a mark and the public’s ability to

recognize it.” Toucan Golf, 337 F.3d at 624. The least distinctive marks are labeled “generic,”

while the most distinctive marks are “fanciful.” Id. Marks can become “incontestable.” An

incontestable mark is entitled to a presumption of validity, as at least a descriptive mark with

secondary meaning, if validly registered and unchallenged for five years. 15 U.S.C. § 1065; see

Maker’s Mark Distillery, Inc. v. Diageo N. Am., Inc., 703 F. Supp. 2d 671, 684 (W.D. Ky. 2010),

aff’d, 679 F.3d 410 (6th Cir. 2012). If a mark is incontestable, it is the defendant’s burden to show

why it is invalid. Id.

         HOKC argues that it has a strong mark because of the mark’s continuous use since 1931,

its strong association with charitable work, and its incontestable status. (DE 7, at 163–64). HOKC

points to the lack of confusingly similar marks in commerce as evidence. (Id, at 163). The Court

notes that not all the claimed marks have become incontestable. The “Kentucky Colonels” marks

relating to food products, novelty items, and apparel, as well as the “Honorable Order of Kentucky

Colonels” mark for eleemosynary services are incontestable, but the mark for “Kentucky

Colonels” as to associations has not yet ripened into incontestability. (See DE 1-2).



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       Wright argues that HOKC “is seeking to dominate something that they borrowed from time

and history which does not belong to them, they adopted the term and ideal, not vice versa.” (DE

23, at 725). Wright asserts that KCI is not the first organization to use the Kentucky Colonels

name in its title and cites several other organizations and Facebook groups to support his claim.

(Id., at 724). But Wright fails to show that these other groups—which, according to the record, do

not solicit donations or claim to support charitable organizations across the Commonwealth—have

weakened HOKC’s claimed marks.          Despite Wright’s assertions that the words “Kentucky

Colonels” belong to the public domain, HOKC has an incontestable mark in the “Honorable Order

of Kentucky Colonels” as it relates to eleemosynary services. (DE 1-2, at 28). To meaningfully

contest its strength, Wright would need to present evidence that the mark is invalid. See Maker’s

Mark, 703 F. Supp. 2d at 684. He has made no such showing here.

       Likewise, Wright’s invocation of The Honorable Order of Kentucky Colonels v. Building

Champions, LLC, 345 F. Supp. 2d 716 (W.D. Ky. 2004), is misplaced. There, HOKC tried to

assert its trademark rights in novelty merchandise sold to supporters of a semi-professional

basketball team, the Kentucky Colonels. The district court denied HOKC injunctive relief but

found “the strength of mark to be solidly in the Order’s favor.” Id. at 724. The decision that

HOKC was unlikely to prevail on the merits turned instead on the “unrelatedness of the underlying

activity, the dissimilarity of the overall impression as well as the likelihood of purchaser care”—

factors which, as discussed below, weigh in HOKC’s favor here. Id. Building Champions thus

supports a conclusion that HOKC’s mark is strong.

       The Court thus finds, as held in Building Champions, that HOKC holds a moderately strong

mark. “A mark is strong and distinctive when the public readily accepts it as the hallmark of a

particular source; such acceptance can occur when the mark is unique, when it has received



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intensive advertisement, or both.” AutoZone, Inc. v. Tandy Corp., 373 F.3d 786, 793–94 (6th Cir.

2004) (quoting Daddy’s, 109 F.3d at 280) (internal quotations and citations omitted). The time

the mark has been in use and the mark’s distinctive character reinforces HOKC’s assertion that it

has a strong mark. This factor therefore weighs in HOKC’s favor.

               2.      Relatedness of the Goods

       Different trademark disputes turn on different levels of relatedness. “First, if the parties

compete directly by offering their goods or services, confusion is likely if the marks are sufficiently

similar; second, if the goods or services are somewhat related but not competitive, the likelihood

of confusion will turn on other factors,” and finally, “if the goods or services are totally unrelated,

confusion is unlikely.” Daddy’s, 109 F.3d at 282. Here, as asserted by HOKC, KCI and HOKC

are competing for the same resource: donations and participation from individuals who want to

support Kentucky Colonels. From the Court’s review of the materials submitted in support of the

motion for preliminary injunction, KCI is trying to establish a fundraising platform very similar to

HOKC’s. In its verified complaint, HOKC asserts that it is “a nonprofit organization dedicated to

supporting charitable purposes throughout the          Commonwealth” formed as “a society or

organization to restore the grandeur and sentiment of the original Kentucky Colonel; to more

closely band together this group . . . for the advancement of Kentucky and Kentuckians.” (DE 1,

at 5). Following Wright’s attempt to comply with the temporary restraining order, the “Kentucky

Colonel Foundation” site now describes the group: “formerly Kentucky Colonels International is

a model not-for-profit, charitable membership organization made up of Kentucky colonels

promoting and supporting other Kentucky colonels as goodwill ambassadors for the

Commonwealth of Kentucky at home and abroad.” (DE 19-6, at 598). The site also provides a

link and QR Code to solicit donations, informing the user that “[y]ou can now donate to Kentucky



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Colonel Foundation online using a major credit card or your PayPal account.” (Id., at 649). KCI’s

blog, while purporting to represent an independent association, features as its banner a picture of

the membership certificate and tokens of appreciation that HOKC provides donors. (DE 7-5, at

278; DE 29, at 790 (“[W]hen you look at the image on the page, those pieces are items that we

provide Kentucky Colonels who have been very generous to us.”)). The site states that to take

KCI “where it needs to go, we need donations from the public and will need to charge monthly or

annual dues to members in order to provide member benefits and services beyond social media.”

(DE 7-5, at 291). The claimed mission and vision of KCI reflects that HOKC and KCI seek

virtually identical sources of income: donations from individuals who want the Kentucky Colonels

name preserved in integrity and put to good use. This factor supports finding infringement.

               3.      Similarity of the Marks

       The similarity of the marks is an important factor that should be granted “considerable

weight” and requires the Court to “examine the pronunciation, appearance, and verbal translation

of conflicting marks.” Daddy’s, 109 F.3d at 283 (citing Champions Golf Club, Inc. v. Champions

Golf Club, Inc., 78 F.3d 1111, 1119 (6th Cir. 1996)). Although HOKC has filed for registration

of “Kentucky Colonels” as it relates to associations, that mark is not yet registered. (DE 7-1, at

176). HOKC does, however, hold a registered and incontestable trademark for “Honorable Order

of Kentucky Colonels” for eleemosynary associations, scholarships, and grants (id.), which the

Court finds it is appropriate to compare to the claimed mark, “Kentucky Colonels International.”

Considering the highly similar nature of the words used, the lack of distinguishing logo features

found significant in Building Champions, and Wright’s lack of argument on this point, this factor

also favors finding infringement. See 345 F. Supp. 2d at 722 (finding that the differences in “style

and typography” and presence of a basketball in one logo “lessen[ed] the likelihood of confusion”).



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               4.       Evidence of Actual Confusion

        “Evidence of actual confusion is undoubtedly the best evidence of likelihood of

confusion.” Wynn Oil Co. v. Thomas, 839 F.2d 1183, 1188 (6th Cir. 1988). But “due to the

difficulty of securing evidence of actual confusion, a lack of such evidence is rarely significant.”

Daddy’s, 109 F.3d at 284. As evidence of actual confusion, HOKC has submitted Facebook posts

by two recipients of charitable grants from HOKC; the posts thanked KCI for the grant. (DE 1-6).

According to HOKC, the posts prove that HOKC’s current grantees are confused about the identity

of KCI, and that a potential donor viewing the posts would be confused by the grantees

misdirecting their comments to KCI. (DE 29, at 798 (“That shows that the nonprofits aren’t

recognizing where the dollars are coming from, but it affects the individual giver.”)). Sherry Crose

testified about several calls and digital communications that HOKC has received expressing

confusion about the identity of KCI, and HOKC submitted a log of such comments at the

preliminary-injunction hearing. (DE 29, at 796; Excel Spreadsheet, Pl. Exh. 2). And although

Wright’s response was voluminous and contained several legal and philosophical arguments, he

failed to respond to these instances of actual confusion. (DE 23). Without the aid of meaningful

rebuttal testimony and until the Corporate Defendants brief the issue, this factor also supports

finding infringement.

               5.       Marketing Channels Used

       The record is clear that the marketing channels used by the parties are virtually identical.

Both HOKC and KCI rely heavily on Facebook and their respective online platforms to solicit

donations and spread their messages. (See DE 29, at 770 (“The domain name that’s being used by

this gentleman that is confusingly similar. . . . And also his Facebook presence.”)). Both maintain




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membership websites and active social-media presences. (See DE 1-6; DE 7-6) At this point, this

factor warrants a finding of infringement.

               6.      Likely Degree of Purchaser Care

       The Court must next consider whether the “typical buyer exercising ordinary caution”

would confuse KCI for HOKC. Champions Golf, 78 F.3d at 1120. For reference, homebuyers

exercise a high degree of care for their expensive purchases, and fast-food purchasers a low degree

of care for their low-risk, cheap purchases. See Homeowners Grp., 931 F.3d at 1111. Here, as

pointed out by HOKC, the similarity of the marks somewhat obviates the weight of this factor.

(DE 7, at 166; see Daddy’s, 109 F.3d at 286). The Court also finds that the degree of purchaser

care is low because one-time donations can be of any monetary amount and are often made on a

whim. Id. Because the Court finds a low degree of purchaser care and a high possibility of actual

confusion, this factor weighs in HOKC’s favor at this point in the litigation.

               7.      Intent of Defendant

       HOKC asserts that the Corporate Defendants have chosen their mark to intentionally

confuse consumers and members of HOKC, and it points to several instances of threatening

language and the proffered “merger agreement” as evidence. (See DE 7, at 166–67). Crose

testified that Wright’s organization and actions were “clearly a threat” to HOKC. (DE 29, at 784).

“If a party chooses a mark with the intent of causing confusion, that fact alone may be sufficient

to justify an inference of confusing similarity.” Homeowners Group, 931 F.2d at 1111; see also

Esercizio v. Roberts, 944 F.2d 1235, 1242 (6th Cir.1991) (holding the same). Although Wright

asserts that confusion was not his intent (DE 23, at 727), the dipositive fact issue is often whether

the defendant knew of the plaintiff’s use of its mark before choosing his own mark. See Champions

Golf Club, 78 F.3d at 1121. Wright claims to have received the title of Kentucky Colonel himself



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and to have disclaimed affiliation with HOKC. The current record thus supports a conclusion that

Defendants were aware of the existence of HOKC and its marks before choosing KCI as their own.

This factor favors finding infringement for now.

                8.      Expansion of Product Lines

        This factor generally analyzes whether it is likely that the competing marks will expand

their market shares and overlap, leading to more competition and confusion. See Daddy’s, 109

F.3d at 287. Since both HOKC and KCI are charitable organizations and the Court has already

determined that they are in direct competition for donors, this factor has little relevance here. See

Little Caesar Enters., Inc. v. Pizza Caesar, Inc., 834 F.2d 568, 572 (6th Cir. 1987) (finding that

discussion of eighth factor is inappropriate where products are in direct competition). This factor

is therefore neutral.

        On balance, the Court finds that HOKC has shown a strong likelihood of success on the

merits. The Court notes that this conclusion is subject to change when and if the Corporate

Defendants retain counsel and submit opposing argument.

        B.      Irreparable Harm to Plaintiff

        HOKC has also shown that it is likely to suffer irreparable harm—in the form of loss of

charitable goodwill and damage to its reputation—if it is not granted injunctive relief and

Defendants continue to infringe HOKC’s trademark. See DaimlerChrysler v. The Net Inc., 388

F.3d 201, 208 (6th Cir. 2004) (upholding grant of preliminary injunction for trademark

infringement through defendant’s website); Circuit City Stores Inc. v. CarMax, Inc., 165 F.3d

1047, 1055 (6th Cir. 1999) (holding that “irreparable damage is presumed” from trademark

infringement). The Corporate Defendants’ “attempt” to comply with the temporary restraining

order appears to have brought the marks even closer together and supports the ongoing need for



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injunctive relief. (See DE 19; DE 19-6) Any harm KCI, its affiliates, or others may suffer because

of the preliminary injunction is outweighed by HOKC’s likelihood of success on the merits, the

likelihood of irreparable harm, Defendants resistance to court orders, and the public interest. See

Handel’s Enters. v. Schulenberg, 765 F. App’x 117, 125 (6th Cir. 2019) (quoting FirstEnergy Sols.

Corp. v. Flerick, 521 F. App’x 521, 529 (6th Cir. 2013)).

       C.      Substantial Harm to Others

       Enjoining Defendants from infringing HOKC’s trademarks will, if it causes harm at all,

harm only KCI and its affiliates. On the other hand, if individuals are confusing KCI with HOKC

and unknowingly donating money to the wrong organization, the public may be harmed by not

maintaining the temporary restraining order. See Certified Restoration Dry Cleaning Network,

LLC v. Tenke Corp., 511 F.3d 535, 550–51 (6th Cir. 2007) (quoting Tumblebus Inc. v. Cranmer,

399 F.3d 754, 760 (6th Cir. 2005)). As illustrated by witness testimony at the preliminary-

injunction hearing, the public continues to confuse KCI (now marketed as Kentucky Colonels

Foundation) and HOKC. (DE 29, at 798). Because Wright’s attempt to comply with the TRO has

perhaps made the distinction between the two entities even less clear (see DE 27), this factor

supports extension of the temporary restraining order.

       D.      Public Interest

       Finally, HOKC has shown that extending the temporary restraining order is in the public

interest. Injunctive relief for trademark infringement serves the public interest, since “[t]here is a

public interest in ‘preventing consumer confusion and deception in the marketplace and protecting

the trademark holder’s property interest in the mark.” Ignition Athletic Performance Grp., LLC v.

Hantz Soccer U.S.A., LLC, 245 F. App’x 456, 460 (6th Cir. 2007) (quoting Lorillard Tobacco Co.

v. Amouri’s Grand Foods, Inc., 453 F.3d 377, 383 (6th Cir. 2006)). As noted above, Wright’s



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attempt at compliance appears to have exacerbated the situation. Until the Corporate Defendants

have obtained counsel and submitted their opposing arguments, the Court finds that extending the

temporary restraining order remains in the public interest.

                                     III.     CONCLUSION

       Based on the current record, HOKC has a strong likelihood of success on the merits; that

it would suffer irreparable harm in the absence of the extension of the temporary restraining order;

that extending the order would not cause substantial harm to others; and that the public interest is

served by maintaining the protections in the temporary restraining order. The Court’s position on

the necessity and propriety of injunctive relief may, however, change if the Corporate Defendants

obtain representation and submit meaningful argument in opposition to issuing a preliminary

injunction.

       It is also unlikely that this matter can be resolved without an injunction based on

Defendants’ ongoing operation of a website (now called the Kentucky Colonels Foundation) and

social-media profiles that appear to infringe HOKC’s marks. (See DE 19-6) Accordingly, and the

Court being otherwise sufficiently advised,

       IT IS ORDERED as follows:

       (1)     The Second Motion to Extend Temporary Restraining Order                 (DE 31) is

GRANTED.

       (2)     The temporary restraining order previously entered in this matter (DE 14) is

EXTENDED for a period of sixty (60) days following entry of this Order.

       (3)     Defendants SHALL, after obtaining counsel, file an answer, counterclaim, or any

brief in opposition to Plaintiff’s motion for preliminary injunction (DE 7) within sixty (60) days

following entry of this Order.



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       (4)    The Court anticipates setting a hearing to consider such newly submitted briefing

by subsequent order.




                                                    March 23, 2020




Copies to: Counsel and Defendants via mail




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